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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JAMILLA CLARK and ARWA AZIZ, on
Behalf of Themselves and Others Similarly No.
Situated, and TURNING POINT FOR
WOMEN AND FAMILIES,
Plaintiffs, CLASS ACTION
COMPLAINT AND
-against- JURY DEMAND
CITY OF NEW YORK,
Defendant.

Plaintiffs Jamilla Clark and Arwa Aziz, on behalf of themselves and others
similarly situated (collectively, the “Class” or “Class Plaintiffs”), and Turning Point for Women
and Families, by and through their attorneys, Emery Celli Brinckerhoff & Abady LLP and the
Council on American-Islamic Relations New York Inc., for their Complaint allege as follows:

PRELIMINARY STATEMENT

1. Plaintiff Jamilla Clark, a practicing Muslim-American woman, sobbed in
One Police Plaza with her hijab pushed down around her shoulders. She had been arrested for
violating a bogus protective order filed by her abusive ex-husband. Her head and hair were now
uncovered. NYPD officers had threatened to prosecute her if she did not remove her hijab, a
headscarf she wore daily to cover her hair and signify modesty and devotion to the Muslim faith.
Like many Muslim women whose religious beliefs dictate that they wear a hijab, Ms. Clark felt
exposed and violated without hers—as if she were naked in a public space. A NYPD officer
took a photograph of Ms. Clark as she wept and begged to put her hijab back on. The officer

ignored Ms. Clark, stored the photograph in an online database and in Ms. Clark’s paper file, and
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showed it to numerous male officers. Another officer openly mocked the Muslim faith. Ms.
Clark—humiliated, distraught, and panicked from this coerced violation of her religious
practice—still worries that her photograph is regularly seen by NYPD officers or members of the
public.

2. Eight months later, Plaintiff Arwa Aziz, a practicing Muslim-American
woman, sobbed at 120 Schermerhorn Street in Brooklyn with her hijab pushed down around her
shoulders. She had also been arrested for violating a bogus protective order filed by her
vindictive sister-in-law. She stood with her back to a wall, in full view of approximately one
dozen male NYPD officers and more than thirty male inmates. For nearly five minutes, NYPD
officers had been taking photographs of Ms. Aziz, her head and hair uncovered, from multiple
angles. The officers refused to allow Ms. Aziz to keep her hijab on while having her picture
taken. They refused to allow her to push her hijab back slightly, exposing her hairline and ears.
They told her, falsely: “It’s the law.” Frantic, weeping, and bareheaded in a hallway full of men
who do not belong to her immediate family, Ms. Aziz felt broken.

3. Plaintiff Turning Point for Women and Families (“Turning Point”) is a
nonprofit organization that advocates for and assists Muslim women and girls who have been the
victims of domestic violence. Many women whom Turning Point serves have experienced, like
Ms. Clark and Ms. Aziz, the forced removal of their head coverings by NYPD officers for post-
arrest photographs. Many of these arrests, like Ms. Clark’s and Ms. Aziz’s, stem from specious
charges lodged by abusive family members.

4. Ms. Clark and Ms. Aziz endured this trauma and anguish because of an
official NYPD policy that forces arrestees to remove their religious head coverings for an official

Department photograph (the “Booking Photograph”) that is kept forever, visible to all who can
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access the NYPD’s main database or have occasion to view an arrestee’s paper file. This
unnecessary and discriminatory policy is out of step with national norms, federal and state law,
and the United States Constitution.

5. The NYPD’s policy of requiring arrestees to remove religious head
coverings for photographs is unlawful. This kind of substantial burden on religious practice is
directly prohibited by the Religious Land Use and Institutionalized Persons Act, 42 U.S.C.

§ 2000cc et seg. (“RLUIPA”). “A Muslim woman who must appear before strange men she
doesn’t know, with her hair and neck uncovered in a violation of her religious beliefs, may feel
shame and distress. This is precisely the kind of ‘mischief? RLUIPA was intended to remedy.”
Khatib v. County of Orange, 639 F.3d 898, 907 (9th Cir. 2011) (Gould, J., concurring). The
NYPD’s policy also contravenes the First Amendment to the United States Constitution; Article
1, Section 3 of the New York State Constitution; and New York State law.

6. This civil rights class action seeks damages and declaratory and injunctive
relief to (a) compensate Class members for the severe emotional damages they have suffered; (b)
compensate Turning Point for the diversion of its resources toward investigating and combating
Defendant’s unlawful policy and for the frustration of its mission of promoting the civil and legal
rights of Muslim-American citizens; and (c) enjoin Defendant from continuing to implement the
NYPD policy requiring the removal of all religious headgear for Booking Photographs.

JURISDICTION AND VENUE

7. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.
This Court has supplemental jurisdiction over the New York State law claim pursuant to 28
U.S.C. § 1367.

8. The instant action arises under the Religious Land Use and
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Institutionalized Persons Act, 42 U.S.C. § 2000cc et seg., and the First and Fourteenth
Amendments to the United States Constitution.

9. The acts complained of occurred in the Southern District of New York and
venue is lodged in this Court pursuant to 28 U.S.C. § 1391(b) because a substantial part of the
events and/or omissions giving rise to the claims occurred in the District.

PARTIES

10. Plaintiff Jamilla Clark currently resides in Cedar Grove, New Jersey.

11. Plaintiff Arwa Aziz currently resides in Brooklyn, New York.

12. Plaintiff Turning Point is a private non-profit organization based in
Queens County, New York and serving Queens County and other counties city-wide. Turning
Point is organized under the laws of New York, with its principal place of business in Flushing.
Turning Point’s primary objective is to support and advocate for Muslim women and girls
affected by domestic violence. Turning Point accomplishes this objective through a variety of
means, including direct services, advocacy, and referrals throughout the region in which it
operates, including in the Southern District of New York.

13. Defendant City of New York (the “City”) is and was at all times relevant
herein a municipal entity created and authorized under the laws of the State of New York. It is
authorized by law to maintain a police department (the New York City Police Department or
“NYPD”), which acts as its agent in the area of law enforcement and for which it is ultimately
responsible. The NYPD is a duly authorized public authority able to perform all functions of a
police department under the applicable sections of the New York State Criminal Procedure Law.
Defendant City assumes the risks incidental to the maintenance of the NYPD’s police force and

the employment of police officers.
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JURY DEMAND

14. Plaintiffs demand a trial by jury in this action.
FACTUAL ALLEGATIONS

15. This case is about an NYPD policy that violates the First Amendment as
well as other federal and state law. Pursuant to this policy, NYPD officers force arrestees who
wear religious head coverings to remove those head coverings for a photograph, even where
doing so violates the arrestees’ sincerely-held religious beliefs. This practice alienates and
oppresses faith communities throughout New York City. It lacks justification and must be
changed.

The Hijab

16. Ms. Clark and Ms. Aziz both wear a hijab pursuant to their Muslim faith.
For the purposes of discussing the NYPD’s policy, the term “hijab” is used throughout this
Complaint to refer to a garment worn by many Muslim women in various parts of the world; it is
a headscarf that covers the wearer’s hair, ears, and neck, and frequently part of her chest, but
leaves her entire face exposed. In Arabic, the word “hijab” derives from the word “hajaba,”
sometimes translated as to hide or screen from view or to cover. Wearing a hijab is also known
as “covering.” Neither Ms. Clark nor Ms. Aziz wears a niqab, or a face veil.

17. For many observant Muslim women, the practice of covering entails
wearing one’s hijab at all times, whether at home or in public, when the wearer is in the presence
of men who are not part of her immediate family (“mahram’’).

18. While women choose to wear the hijab for an array of reasons, many
believe that the hijab fulfills the commandments of modesty and devotion that stem from, among

other things, the Qur’an, the primary holy book of the Muslim faith, and the hadith, oral
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traditions carried down from the age of the Prophet Mohammed (S.A.W.).' Ms. Clarke, Ms.
Aziz, and other women who cover frequently view wearing the hijab as a mandatory aspect of
Muslim identity and faith.

19. Ms. Clark and Ms. Aziz both wear hijabs because their faith dictates that
no man outside of a woman’s mahram should see her uncovered hair, head, and neck. Both
presently wear hijabs every single day and believe that their religious faith requires them to do
so. Ms. Clark has covered regularly for nearly ten years and daily for the past year. Ms. Aziz
has done so daily for seven years. The hijab is core to both women’s identities. It is an essential
part of who they are.

20. Being forced to remove one’s hijab in public, particularly in the presence
of men who do not belong to the wearer’s mahram, is a profound defilement of the wearer’s
sincerely-held religious beliefs and a violation of her religious practice. Requiring a Muslim
woman to remove her hijab in public is akin to demanding that a secular person strip naked in
front of strangers.

NYPD Establishes Its Unlawful Photograph Policy in March 2015

21. On March 2, 2015, the NYPD implemented Interim Order 29. Upon
information and belief, Interim Order 29 was passed in response to ongoing civil rights litigation
and to establish protocols for taking post-arrest photographs of arrestees who refuse to remove

their religious head coverings in the presence of NYPD officers.

' The phrase “S.A.W.” is shorthand for “salla@ Allahu ‘alayhi wa salam,” a phrase that translates to “God’s blessings
and peace be upon him” and that is frequently used to express love and respect for the Prophet.
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22. Upon information and belief, prior to March 2, 2015, the NYPD had no
formal policy governing how to photograph arrestees who refuse to remove their religious head
coverings.

23. Interim Order 29 states:

In order to accommodate arrestees who refuse to remove their religious
head covering for an official department photograph, the Department has
authorized the Mass Arrest Processing Center (MAPC) at One Police
Plaza be available so that an arrestee can remove their religious head
covering and have their photograph taken in private . . . the Department
requires that an official photograph be taken of an arrestee with an
unobstructed view of the arrestee’s head, ears, and face.

24. In contrast, Interim Order 29 explains, the “photograph taken at the
command of arrest for the Prisoner Movement Slip is not considered an official Department
photograph. That photograph is taken for identification purposes only and may be taken while
the arrestee wears their religious head covering.”

25. Interim Order 29 does not explain how the purpose of the MAPC
photograph (without hijab), referred to herein as the Booking Photograph, differs from the
Prisoner Movement Slip photograph (with hijab) that is “taken for identification purposes.”

26. Interim Order 29 amended Patrol Guide 208-03, “Arrests — General
Processing,” in two ways. First, Interim Order 29 required that Desk Officers take certain steps
if an arrestee “indicates a refusal to remove their religious head covering for the official
Department photograph at borough Court Section.” The Desk Officer must begin by notifying
Manhattan Court Section. The Desk Officer must then:

a. Inform Manhattan Court Section of the gender of the arrestee in order to
have a member of the service of the same gender available to take the
official Department photo.

b. Direct arresting officer to transport prisoner to the Mass Arrest Processing
Center (MAPC) at One Police Plaza, between 0800 and 2400 hours, where
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27.

the arrestee will have an official Department picture taken without their
religious head covering.

c. Direct arresting officer to transport prisoner to the respective borough
Court Section upon completion of the official Department photograph at
the MAPC.

Interim Order 29 also tasks the Borough Court Section Supervisor with

carrying out the same steps prescribed for the Desk Officer.

28.

Finally, Interim Order 29 amends Patrol Guide 208-07, “Photographable

Offenses,” to include the following:

29.

Additional Data: If arrestee refuses to remove their religious head covering for
a photograph taken for identification purposes (i.e., Prisoner Movement Slip),
the arresting officer will take a digital photograph of the arrestee wearing their
religious head covering. The arresting officer will then inform the arrestee
that the Department is required to take an official Department photograph at
the borough Court Section in which the arrestee[’]s head covering must be
removed. If the arrestee indicates that they will continue to refuse to remove
their religious head covering at the borough Court Section they will be
informed that they will be transported to the prisoner photography facility at
the Mass Arrest Processing Center (MAPC), at One Police Plaza between
0800 and 2400 hours where their head gear will be removed and an official
Department photograph will be taken in privacy. Furthermore, the arrestee
will be informed that their arrest processing may be delayed due to operational
requirements incumbent in using the MAPC. Notification to Manhattan Court
Section must be made before the arrestee is transported.

Upon information and belief, Booking Photographs are integrated into

other law enforcement databases, including the NYPD’s so-called “Forensic Imaging System,”

that use sophisticated facial recognition software.” This practice increases the likelihood that

images of arrestees without their religious head coverings will be viewed by many people long

after the Booking Photograph is taken.

? See http://www.nydailynews.com/new-york/nyc-crime/nypd-ripped-abusing-facial-recognition-tool-article-
1.3847796 (last accessed March 4, 2018).
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30. Interim Order 29 Section 4 provided that “[a]ny provisions of the
Department Manual or any other Department directive in conflict with the contents of this Order
are suspended.”

31. Patrol Guide 208-03, effective January 16, 2018, and Patrol Guide 208-07,
effective March 2, 2015, implement the changes set forth in Interim Order 29 verbatim.

32. | Upon information and belief, the NYPD does not consistently apply its
Booking Photograph policy as set forth in Interim Order 29, Patrol Guide 208-03, and Patrol
Guide 208-07 (collectively, the “Photograph Policy”). For example, on September 16, 2016, Ms.
Rabab Musa was arrested in Manhattan on charges not made known to her. At the precinct, after
being strip searched, Ms. Musa was then forced to remove her hijab while a male NYPD Officer
took her picture on his cell phone. Ms. Musa was not given the opportunity to have her
photograph taken in private, by a female officer, at One Police Plaza. Ms. Musa filed a lawsuit
in New York Supreme Court on February 20, 2017, alleging various violations of her religious
rights.

Federal, State, and Local Governments Across the United States Recognize the Religious
Interest in the Hijab and Permit it to be Worn in Official Photographs

33. The NYPD’s Photograph Policy contravenes national norms and practices.
From the federal to the local level, government and law enforcement entities recognize the
significant constitutional and statutory interests at play and permit those in custody to wear
religious head coverings for the purpose of official photographs.

34. The United States Department of State permits those who wear hats or
head coverings for religious reasons to keep those coverings on in official passport photographs.
The Department of State website allows those being photographed to wear a religious hat or head

covering if they “submit a signed statement that verifies that the hat or head covering in [the
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person’s] photograph is part of recognized, traditional religious attire that is customarily or
required to be worm continuously in public.”

35. Similarly, the United States Citizenship and Immigration Services
(“USCIS”) issued a policy memorandum on July 23, 2012 that permits religious head coverings
to be worn in photographs. The memorandum states that “USCIS will accommodate an
individual who wears headwear as part of their religious practices.”* Should a head covering
cast a shadow over the wearer’s face or otherwise obscure part of their face, USCIS will “ask an
individual to remove or adjust portions of religious headwear that covers all or part of the
individual’s face.” In this situation, USCIS will offer the wearer a private room or screened area
in which to adjust their head covering as well as a photographer of their gender. The religious
head covering in question “is allowed to cover the ears if USCIS can still identify the
individual.”

36. The New York State Department of Motor Vehicles Regulations of the
Commissioner, 15 CRR-NY 3.8, “Photographic driver licenses,” also permit an applicant for a
driver’s license to keep her hijab on while having her official driver’s license photograph taken.
In July 2007, officials at the Department of Motor Vehicles sent letters of reminder to offices
throughout New York State regarding head coverings and their approved use in driver’s license

photographs.

3 Available at https://ru.usembassy. gov/u-s-citizen-services/passports/photos/ (last accessed March 4, 2018).

4 :
Available at

https://www.uscis. gov/sites/default/files/US CIS/Laws/Memoranda/2012/August%202012/Accommodating%20Reli

gious%20Beliefs%20PM.pdf (last accessed March 4, 2018).

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37. Law enforcement officials across the country have likewise recognized the
right of citizens to wear hijabs or other religious head coverings while being photographed for
official government purposes.

38. In Dearborn Heights, Michigan, the Police Department changed its
booking procedures in July 2015 after a woman was forced to remove her hijab in the presence
of men during the booking photograph and while in custody. The Police Department
implemented reform after that woman filed suit alleging violations of her religious rights.
According to the updated policy, Muslim women are not required to remove religious head
coverings like hijabs for any booking photograph. At least one additional lawsuit has been
settled under the new policy, which recognizes the substantial religious interests of women who
wear hijabs.

39, In Long Beach, California, the City Council approved a July 2017
settlement between a woman required to remove her hijab for a post-arrest photograph and the
Long Beach Police Department that amended the Department’s official policy so as to
accommodate persons who wear religious head coverings. The Department is no longer
permitted to forcibly remove the hijabs of female arrestees at any point while they are in custody.

40. In amending its policy, Long Beach joined two neighboring jurisdictions,
San Bernardino County and Orange County, which adopted policies protecting detainees who
wear religious head coverings following lawsuits that settled in 2008 and 2013 respectively.

41. In Hennepin County, Minnesota—the county that includes Minneapolis—
the Sheriff's Office implemented a new policy for inmates at the Hennepin County Jail and those
in custody throughout Hennepin County in March 2014. The policy permits female arrestees to

keep their hijabs on while a booking photograph is taken, and provides that the hijab can be

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pushed back slightly off of the wearer’s face if necessary. Inmates at the County Jail are
permitted to wear hijabs while incarcerated.

42. In Portland, Maine, Cumberland County Sheriff Kevin Joyce publicly
apologized after releasing the booking photographs of two Muslim women who had been
arrested at a Black Lives Matter protest. The photographs showed each woman without her
hijab; Joyce offered his “sincerest apologies . . . to the Muslim community for the appearance
that we are disrespecting their religious beliefs and practices.”° The Cumberland County Jail
procedures require a woman to remove her hijab only in private, without men present, and
provide that two booking photographs will be taken, one with the woman’s hijab and another
without.

43. Each of these examples reflects a growing national consensus that there is
no basis to require the removal of religious head coverings for official government photographs.

44. Even the NYPD has recognized the harm its Photograph Policy may cause
Muslim women. Three Muslim women reached a settlement with the City on February 26, 2018,
pursuant to which the City agreed to pay $180,000 in damages for the forced removal of the
women’s hijabs pursuant to the Photograph Policy.® Upon information and belief, however, the
Photograph Policy remains in place despite this settlement. Even if a Muslim woman is able to
have her Booking Photograph taken in private by another woman at One Police Plaza, the
Booking Photograph itself remains in the NYPD’s database indefinitely—available to all who

access the computer system or the woman’s paper file.

> Available at https://www.pressherald.com/2016/09/ 14/sheriffs-office-apologizes-for-improperly-releasing-photos-
of-muslim-protesters/ (last accessed March 4, 2018).

° Available at https://www.nytimes.com/2018/02/28/nyregion/muslim-hijab-nypd.html (last accessed March 4,
2018).

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The NYPD’s Unlawful Photograph Policy Forces Muslim Women to Violate Their Religion

45. Federal legislation has been enacted to demonstrate our robust national
commitment to the free exercise of religion and to prohibit the government from placing a
substantial burden on religious beliefs. This legislation, which reflects an increased awareness of
and support for religious interests in practices like covering, “shall be construed in favor of a
broad protection of religious exercise, to the maximum extent permitted by . . . the Constitution.”
42 U.S.C. § 2000ce-3(g). The statute even “may require a government to incur expenses in its
own operations to avoid imposing a substantial burden on religious exercise.” Jd. § 2000cc-3(c).

46. In contravention of this legislation and the tolerant, inclusive policies it
embodies, the NYPD’s Photograph Policy has had an extensive and corrosive effect on Muslim-
American women in New York City—and, upon information and belief, on other New York City
residents who wear religious head coverings and are arrested by the NYPD.

47. Moreover, the Photograph Policy is a profound manifestation of
insensitivity towards religious practices and interests. In today’s post-9/11 climate, New York
City is beset with widespread hostility towards and baseless fear of Muslim-Americans. In the
context of this increasingly polarized setting, it is incumbent on this City’s law enforcement to
increase awareness of and sensitivity towards the Muslim-American community by setting an
example in their arrest and booking practices. The Photograph Policy has precisely the opposite
effect.

48. | The NYPD’s Photograph Policy also substantially impacts the very
population Turning Point exists to serve. Many of Turning Point’s constituents have been forced

by NYPD officers to remove hijabs and other religious head coverings for post-arrest

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photographs. The Photograph Policy has, for this reason, harmed Plaintiff Turning Point, which
advocates for Muslim women and girls throughout New York City.

49.  Asaresult of the Photograph Policy, Turning Point diverted its limited
resources to respond to allegations by its members that they had been forced to remove their
hijabs for the Booking Photograph while in custody and that the Photograph Policy had violated
their constitutional and statutory rights. These resources include staff time to obtain information
from their clients; offering counseling services for clients traumatized by the Photograph Policy;
reviewing relevant documents; analyzing the results of the investigation and information
obtained from constituents; meeting with Turning Point Executive staff, Board members, and
legal counsel; and communicating with clients. Turning Point plans to implement further
measures to remedy the Photograph Policy’s harm to the community, including but not limited to
youth outreach and a “Know Your Rights” campaign.

50. In addition to diverting Turning Point’s resources, Defendant’s conduct
has frustrated Turning Point’s stated mission to protect the legal rights of Muslim women and
girls, especially those who have been victims of domestic violence or abuse. For example, Ms.
Clark was arrested on a false charge filed by her abusive ex-husband, and Ms. Aziz was arrested
on a false charge filed by a vindictive family member. Defendant’s Photograph Policy
disregards the interest of Muslim women in retaining their hijabs for Booking Photographs. The
NYPD’s indifference to the substantial burden its Photograph Policy places on the free exercise
of religion contravenes Turning Point’s mission of improving awareness of and protection for

Muslim-American women.

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Jamilla Clark and Arwa Aziz are Subjected to the Photograph Policy

51. Both Jamilla Clark and Arwa Aziz were forced to remove their hijab
against their will and their religion, pursuant to the Photograph Policy.

Jamilla Clark is Forced to Remove Her Hijab at One Police Plaza for a Photograph

52. After her ex-husband falsely complained that she had violated an order of
protection, Plaintiff Jamilla Clark was taken into custody at Manhattan Family Court on January
9, 2017. Ms. Clark’s ex-husband fabricated these charges to secure immigration status as a
purported victim of domestic violence; Ms. Clark had previously been arrested on the same
charges, but they were ultimately dismissed.

53. Ms. Clark informed the arresting officers that, as a practicing Muslim, she
could not be physically contacted by any men and was required to wear her hijab at all times.
Officers took Ms. Clark to Manhattan’s South Precinct and photographed her with her hijab on.
The officers permitted Ms. Clark to pray in a holding room.

54. Later that day, however, Ms. Clark was transferred to NYPD Central
Booking for New York County, where officers ordered her to remove her hijab for a second
Booking Photograph. Ms. Clark refused. She told officers that she could not remove her hijab in
front of men who do not belong to her immediate family because of her Muslim faith. One
NYPD employee requested that a female colleague take the photograph. But that employee’s
supervisor did not agree with this proposal, and informed Ms. Clark that she would be criminally
prosecuted if she declined to remove her hijab. Ms. Clark refused. Frustrated, the supervisor
made numerous hostile comments about Muslims.

55. Ms. Clark was later taken to One Police Plaza, where, fearful of criminal

charges and in tears, she reluctantly removed her hijab to be photographed. A female officer

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took her photograph in a private room, but Ms. Clark observed a security camera in that room,
and the officer subsequently showed the Booking Photograph to approximately five male NYPD
officers. Male officers touched Ms. Clark repeatedly, even though she explained that such
contact violated her religion, and denied her a place to wash for prayer and a place to pray.

56. Ms. Clark was agitated and distraught by the coerced removal of her hijab.
Because of the violations of her religious rights that occurred in custody, Ms. Clark was afraid to
wear her hijab for approximately one month after the incident.

57. Upon information and belief, the NYPD still maintains at least one
photograph of Ms. Clark without her hijab. The existence of this photograph haunts Ms. Clark,
who is distressed by the prospect of the photograph being viewed again and again by men who
are not members of her immediate family.

Arwa Aziz is Forced to Remove Her Hijab at Brooklyn’s First Precinct for Three Photographs

58. After her sister-in-law obtained a protective order against her on false
pretenses and repeatedly requested that NYPD officers arrest Ms. Aziz for violations of the order
she did not commit, Plaintiff Arwa Aziz voluntarily submitted herself to the NYPD’s custody at
the Sixty-Eighth Precinct in Brooklyn on August 30, 2017 after officers came to her home and
threatened arrest.

59. After Ms. Aziz arrived at the precinct, NYPD officers took her photograph
with her hijab on, then handcuffed her and drove her to Brooklyn Central Booking to be
photographed again. Ms. Aziz was placed in the middle of a long hallway, with more than thirty
male inmates lined up against the walls and approximately one dozen NYPD officers supervising

them. There, in plain sight of these men, several officers demanded that Ms. Aziz remove her

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hijab to be photographed. One officer said to another, “Does she know she has to take her hijab
off?”

60. Ms. Aziz informed the officers that she could not remove her hijab, which
she wears every day for religious reasons. The officers were unmoved. One informed her: “It’s
the law.” When Ms. Aziz asked to speak to a supervisor, an older white officer said: “No, you
have to take it off.” Officers told Ms. Aziz she could have her photograph taken “in a room” at
One Police Plaza, but warned her they could not guarantee that a female photographer would be
present there to take her picture. Furthermore, the officers threatened, Ms. Aziz would have to
“restart” her booking process entirely if she chose to move to One Police Plaza. Ms. Aziz had
already been at the precinct for close to an hour.

61. Desperate and tearful, Ms. Aziz begged the officers to allow her to keep
her hijab on for the photograph. The officers refused. She asked if she could pull her hijab back
only slightly to reveal her bangs and hairline. Even this request was unavailing. A male officer
sitting at a nearby desk shook his head and the remaining officers would not budge. They
reiterated their directive that she remove her hijab entirely.

62. Ms. Aziz, crying hysterically, pulled her hijab around her neck.
Approximately five minutes elapsed while officers took three photographs of Ms. Aziz: one
facing the front and one of each profile. The officers prolonged the ordeal of their photography
and protracted the time Ms. Aziz went uncovered. Ms. Aziz wept throughout the entire ordeal.
Some of the male prisoners lining the hallway, respectful of Ms. Aziz’s distress, turned their
backs in an effort to afford her privacy. None of the police officers in the hallway gave Ms. Aziz

this same courtesy.

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63. Ms. Aziz has been wearing her hijab every day for nearly seven years. It
is a part of her; she cannot describe herself without her hijab. Being forced to remove her hijab
in public—and in the presence of numerous men who are not members of her immediate
family—severely traumatized Ms. Aziz and caused her substantial and lasting emotional distress.

64. Ms. Aziz’s suffering was particularly acute because her arrest took place
on Eid Al-Fitr, one of the most significant holidays in the Muslim calendar. Ms. Aziz had
planned to spend Eid preparing food for her family’s traditional celebration. Instead, she spent
that day alone, in a jail cell, having been forced to expose her bare head to dozens of men outside
her mahram.

65. | Upon information and belief, the NYPD still maintains at least three
photographs of Ms. Aziz without her hijab. As with Ms. Clark, Ms. Aziz continues to
experience distress and humiliation when she thinks about these photographs, which depict her
uncovered in violation of her religious beliefs. The continued availability of these photographs
prolongs and intensifies the NYPD’s initial assault on Ms. Aziz’s religious rights.

Notices of Claim

66. Plaintiffs all filed timely notices of claim that were served upon
Defendant.

67. Hearings on the notices of Plaintiff Aziz and Plaintiff Turning Point were
held pursuant to General Municipal Law § 50-h on February 28, 2018.

68. The City scheduled a hearing for Ms. Clark to occur in June 2017 pursuant
to General Municipal Law § 50-h. Ms. Clark’s counsel was informed of the hearing on less than
twenty-four hours’ notice and timely sought an adjournment to a date within ninety days from

the service of Ms. Clark’s notice of claim on the City of New York. Counsel received no

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response within the ninety-day period. On February 20, 2018, the City adjourned Ms. Clark’s
hearing by letter to April 16, 2018.
CLASS ACTION ALLEGATIONS

69. Plaintiffs Clark and Aziz bring this suit as a class action under Federal
Rule of Civil Procedure 23(b)(1)(A) and (b)(3), on behalf of themselves and other individuals
similarly situated who were (a) arrested by or in the custody of the NYPD; (b) required to take a
post-arrest Booking Photograph while in any NYPD facility; and (3) forced to remove any
religious head covering for that Booking Photograph pursuant to the Photograph Policy or any
other written or unwritten policy of the NYPD.

70. All of the members of the Class were injured as a result of Defendant’s
conduct.

71. The members of the Class are so numerous that joinder of all Class
members is impracticable. On information and belief, the number of adults arrested in New
York City per year ranged from nearly three hundred and thirty-five thousand in 2008 to nearly
two hundred and forty thousand in 2017.’ Upon information and belief, tens of thousands of
residents of New York City are Muslim women who wear the hijab, and hundreds of thousands
of residents of New York City wear headscarves, hats, wigs, turbans, or other head and/or hair
coverings in accordance with their religious beliefs.

72. The questions of law and fact presented by Plaintiffs Aziz and Clark are
common to other members of the Class. Among others, the questions of law and fact common to

the Class are:

’ See http://www.criminaljustice.ny.gov/crimnet/ojsa/arrests/index.htm (last accessed March 5, 2018),

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a. Whether the NYPD’s Photograph Policy, either on its face or as
applied, violates the RLUIPA by imposing a substantial burden on the
religious exercise of Class members;

b. Whether the Photograph Policy is in furtherance of a compelling
governmental interest and is the least restrictive means of furthering
that interest;

c. Whether the Photograph Policy, either on its face or as applied,
deprives Class members of their right to freely exercise their religion
pursuant to the First Amendment to the Constitution of the United
States and/or Article J, Section 3 of the Constitution of the State of
New York; and

d. Whether Class members are entitled to relief and, if so, the nature and
extent of that relief, including without limitation the amount of
monetary damages.

73. Common issues of law and fact, including without limitation those set
forth above, predominate over any individual issues.

74. The claims and practices alleged herein are common to all members of the
Class.

75. The violations suffered by Plaintiffs Clark and Aziz are typical of those
suffered by the Class, as all members of the Class were subjected to the forced removal of
religious head coverings in a New York City facility after being arrested or entering police

custody. The entire Class will benefit from the monetary relief sought.

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76. Plaintiffs have no conflict of interest with any Class members, are
committed to the vigorous prosecution of all claims on behalf of the Class, and will fairly and
adequately protect the interests of the Class.

77. | The prosecution of separate actions by individual members of the Class
would create the risk of inconsistent or varying adjudications, which would establish
incompatible standards of conduct for Defendant.

78. Counsel competent and experienced in federal class action and federal
civil rights litigation has been retained to represent the class. Emery Celli Brinckerhoff & Abady
LLP is a law firm with offices in New York City with extensive experience in complex civil
rights litigation and class action lawsuits. Council on American Islamic Relations New York is a
non-profit organization in New York City with substantial experience in civil rights litigation
and knowledge of New York religious communities.

79. This class action is superior to any other method for the fair and efficient
adjudication of this legal dispute, as joinder of all Class members is impracticable. The damages
suffered by members of the Class, although substantial, are small in relation to the extraordinary
expense and burden of individual litigation; therefore, it is highly impractical for such Class
members to seek individual redress for damages.

80. There will be no extraordinary difficulty in the management of this Class

action.

FIRST CAUSE OF ACTION
The Religious Land Use and Institutionalized Persons Act
(42 U.S.C. § 2000cc)
81. Plaintiffs repeat and reallege the above paragraphs as if the same were

fully set forth at length herein.

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82. The RLUIPA provides, in relevant part, the following: “No government
shall impose a substantial burden on the religious exercise of a person residing in or confined to
an institution, as defined in section 1997 of this title, even if the burden results from a rule of
general applicability, unless the government demonstrates that the imposition of the burden on
that person- (1) is in furtherance of a compelling governmental interest; and (2) is the least
restrictive means of furthering that compelling governmental interest.” 42 U.S.C. § 2000cc-
1(a)(1)-(2).

83, Class Plaintiffs are “persons” as defined under the RLUIPA. See 42
U.S.C. § 2000ce-1(a) and 42 U.S.C. § 1997(3).

84. Class Plaintiffs’ decisions to wear hijabs constitute a sincerely-held
religious belief.

85. At all relevant times, Defendant met the definition of the term
“government” under the RLUIPA. See 42 U.S.C. § 2000cc-5(4)(A)(i)-(iii).

86. At all relevant times, the locations where the NYPD takes Booking
Photographs, including, but not limited to, One Police Plaza in Manhattan, 100 Centre Street in
Manhattan, and 120 Schermerhorn Street in Brooklyn, where the events alleged in the complaint
transpired, are federally-funded “institutions” as defined under the RLUIPA and the Civil Rights
of Institutionalized Persons Act of 1980 (“CRIPA”), 42 U.S.C. § 1997(1)(B)(ii)-(ii).

87. At all relevant times, Class Plaintiffs were “residing in or confined to
institutions” as defined under the RLUIPA when the events alleged above transpired.

88. Defendant’s acts or omissions, policies, and customs substantially

burdened Class Plaintiffs’ religious exercise by requiring them to remove their hijabs to be

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photographed while they were residing in or confined to One Police Plaza in Manhattan, 100
Centre Street in Manhattan, and 120 Schermerhorn Street in Brooklyn, respectively.

89. Defendant’s acts or omissions, policies, and customs do not further a
compelling government interest.

90. | Defendant’s acts or omissions, policies, and customs are not the least-
restrictive means of furthering a compelling government interest.

91. Asadirect and proximate result of Defendant’s wrongful acts and
omissions, Class Plaintiffs have sustained damages, and have suffered and continue to suffer
mental anguish, physical and emotional distress, humiliation, and embarrassment.

92. Turning Point is a “person” as defined under the RLUIPA, see 42 U.S.C.
§ 2000cc-1(a) and 42 U.S.C. § 1997(3), and as a direct and proximate result of Defendants’
unlawful conduct has sustained damages.

SECOND CAUSE OF ACTION
Free Exercise Clause
(42 U.S.C. § 1983)

93. Plaintiffs repeat and reallege the above paragraphs as if the same were
fully set forth at length herein.

94. 420U.S.C. § 1983 prohibits any person acting under color of state law,
custom, or usage to deprive a citizen of rights secured by the Constitution.

95. At all relevant times, Defendant acted under color of state law.

96. Under the First Amendment to the Constitution of the United States of
America, Class Plaintiffs have the right to freely exercise their religion.

97. By forcing Class Plaintiffs remove their hijabs for the Booking

Photograph, Defendant deprived Class Plaintiffs of their right to freely exercise their religion in

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contravention of the Free Exercise Clause.

98. Asa direct and proximate result of Defendant’s unlawful discriminatory
conduct, Plaintiffs have sustained damages, and Class Plaintiffs have suffered and continue to
suffer mental anguish, physical and emotional distress, humiliation, and embarrassment.

THIRD CAUSE OF ACTION
New York State Constitution, Article I, Section 3

99. Plaintiffs repeat and reallege the above paragraphs as if the same were
fully set forth at length herein.

100. Article I, Section 3 of the Constitution of the State of New York provides
that: “The free exercise and enjoyment of religious profession and worship, without
discrimination or preference, shall forever be allowed in this state to all humankind.”
McKinney’s Const. Art. 1, § 3.

101. Defendant’s policy requiring that arrestees who wear religious head
coverings remove those head coverings to be photographed violates Article I, Section 3 by
disallowing the free exercise of religion.

102. Asa direct and proximate result of Defendant’s unlawful conduct,
Plaintiffs have sustained damages, and Class Plaintiffs have suffered and continue to suffer
mental anguish, physical and emotional distress, humiliation, and embarrassment.

FOURTH CAUSE OF ACTION
Declaratory Judgment
(Fed. R. Civ. P. 57 and 28 U.S.C. §§ 2201-02)

103. Plaintiffs repeat and reallege the above paragraphs as if the same were

fully set forth at length herein.

104. Defendant’s conduct was intentional and made with reckless indifference

to Plaintiffs’ religious rights.

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105. Plaintiffs’ rights to the free exercise of religion were infringed upon and
substantially burdened by Defendant’s conduct.

106. Defendant’s policy and custom of forcing the removal of religious head
coverings for post-arrest photographs, including the hijabs worn by Ms. Clark and Ms. Aziz, is
an unlawful and unconstitutional practice that infringes upon the rights of Plaintiffs and other
Muslim women and religious adherents to freely exercise their religion without the interference
of substantially burdensome government conduct.

107. Defendant’s policy, practice, and custom caused and continue to cause
Plaintiffs and other Muslim women and religious adherents harm.

108. Plaintiffs are entitled to a declaratory judgment that Defendant infringed
upon and substantially burdened Plaintiffs’ religious free exercise and continue to substantially
burden the religious free exercise of other, similarly-situated Muslim women and religious
adherents in violation of federal and state law and the United States Constitution.

109. Plaintiffs have a strong likelihood of succeeding on the merits of their

claims.

WHEREFORE, Plaintiffs Clark and Aziz, on behalf of the Class, and Plaintiff
Turning Point, respectfully request an order certifying this suit as a class action pursuant to
Federal Rule of Civil Procedure 23, and request judgment against Defendant as follows:
a) Declaring that Defendant’s discriminatory practices violate the RLUIPA, 42
U.S.C. § 2000cc et seq.; the Free Exercise Clause of the First Amendment to the
United States Constitution; and Article 1, Section 3 of the New York State

Constitution;

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b) Enjoining Defendant, Defendant’s agents, employees, and successors, and all
other persons in active concert or participation with Defendant from requiring the
removal of any religious head or hair coverings for the purpose of post-arrest
photographs;

c) Requiring Defendant to adopt nondiscriminatory policies and practices to prevent
encroachment on the religious rights of arrestees and detainees in the future;

d) Awarding such damages to Class members as will fully compensate them for their
loss of rights and emotional distress suffered due to Defendant’s unlawful
conduct;

e) Awarding such damages to Plaintiff Turning Point as will fully compensate it for
its diversion of resources and frustration of mission suffered due to Defendant’s
unlawful conduct;

f) Awarding punitive damages to all Plaintiffs;

g) Awarding all Plaintiffs reasonable attorneys’ fees, costs, and expenses incurred in

prosecuting this action; and

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h) Granting all Plaintiffs such other further relief as may be just and proper.

Dated: New York, New York

March 16, 2018

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py: ©. ASD ——

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